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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA

JIN KWON and ASIAN AMERICANS                  )
ADVANCING JUSTICE-ATLANTA,                    )
                                              )
                                              )
      Plaintiffs,                             )
                                              )    CIVIL ACTION
v.                                            )    FILE NO. 1:18-cv-05405-TCB
                                              )
ROBYN A. CRITTENDEN,                          )
                                              )
      Defendant.                              )

 PLAINTIFF ASIAN AMERICANS ADVANCING JUSTICE-ATLANTA’S
              FRCP 7.1 DISCLOSURE STATEMENT
      Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, the

undersigned counsel for Plaintiff, Asian Americans Advancing Justice-Atlanta,

certifies that it is a non-governmental corporation with no parent corporation, and

no publicly held corporation owns 10% or more of its stock.

      Respectfully submitted, this 28th day of November, 2018.

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                         CERTIFICATE OF SERVICE

      I hereby certify that on the 28th day of November 2018, I electronically filed

the foregoing with the Clerk of Court using the CM/ECF system and served a copy

by electronic mail upon the following attorneys for the defendant.

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                    CERTIFICATE OF COMPLIANCE

     Pursuant to Local Rule 7.1(D), counsel hereby certifies that this motion was

prepared using Times New Roman 14 point font.

     This 28th day of November, 2018


                                                  /s/ Daniel Huynh
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